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     Facsimile: (415)-474-3748
4
     Attorney for Defendant
5    MYUNG JIN CHANG

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9
                                IN THE UNITED STATES DISTRICT COURT
10
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                            SAN FRANCISCO DIVISION
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15   UNITED STATES OF AMERICA,
                                                             NO. CR 05-395-CRB
16                            Plaintiff,
                                                             STIPULATION AND [PROPOSED]
17                                                           TRAVEL ORDER
             vs.
18
     MYUNG JIN CHANG,
19
                              Defendant.
20                                             /
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22
             Pursuant to stipulation of the parties, IT IS HEREBY ORDERED that Defendant
23
     MYUNG JIN CHANG may travel with his fiancé, Grace Kim, and another couple to Lake
24
     Tahoe, Nevada.
25
             Mr. Chang is to leave San Francisco on Friday, August 11, 2006 and return on Monday,
26
     August 14, 2006. The details of this trip have been provided to AUSA Peter Axelrod, and
27
     neither he nor Mr. Chang’s Pre-trial Services Officer, Michelle Nero, have any objections to the
28
     TRAVEL ORDER RE DEF. MYUNG JIN CHANG
     Case 3:05-cr-00395-CRB            Document 437        Filed 08/07/06      Page 2 of 2



1    Court granting this travel order.

2

3            IT IS SO STIPULATED.

4
             DATED: August 3, 2006               ______/s/________________________________
5                                                IAN G. LOVESETH
                                                 Attorney for defendant
6                                                Myung Jin Chang

7

8            DATED: August 4, 2006               _______/s/_______________________________
                                                 PETER AXELROD
9                                                Assistant United States Attorney

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11           IT IS SO ORDERED.
                                                                  ISTRIC
                                                             TES D      TC
                                                           TA
12
             DATED: August ____,
                            07 2006




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13                                               Honorable Charles R. Breyer
                                                  ED




                                                                                    RT
                                                                          ED Magistrate Judge
                                                 United States District Court,
                                                                    ORDER
                                              UNIT




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                                                                            . Breyer
                                                                    harles R
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                                                            Judge C

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                                                RT




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     TRAVEL ORDER RE DEF. MYUNG JIN CHANG              2
